          Case 1:21-cv-06968-VSB Document 9 Filed 12/23/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                      :
 EVELINA CALCANO, ON BEHALF OF
 HERSELF AND ALL OTHER PERSONS        :
 SIMILARLY SITUATED,                  :
                                      :                  No.: 1:21-cv-6968
                 Plaintiffs,          :
                                      :
                     v.               :                  NOTICE OF VOLUNTARY
                                      :                  DISMISSAL
 AGRARIA SAN FRANCISCO, INC.,         :
                                      :
                 Defendant.           :
                                      :
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       Plaintiff(s), EVELINA CALCANO, in accordance with Rule 41(a)(1)(A)(i) of the

Federal Rules of Civil Procedure, hereby dismisses the above entitled action against Defendant,

AGRARIA SAN FRANCISCO, INC., with prejudice and without fees and costs.

Dated: New York, New York
       December 23, 2021

                                                                       GOTTLIEB & ASSOCIATES

                                                                          /s/Michael A. LaBollita, Esq.

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                                                                                Attorneys for Plaintiffs

SO ORDERED:

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United States District Court Judge
